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                         THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                      ___________________________________

THE UNITED STATES OF AMERICA,
                                                         Case No. 1:20-CR-183
                 Plaintiff,
                                                         Honorable Robert Jonker
v.

BRANDON CASERTA,

                 Defendant.


                         MOTION FOR LEAVE TO FILE A
                  LATE NOTICE REGARDING EXPERT TESTIMONY

         NOW COMES the Defendant, BRANDON CASERTA, by and through his attorney,

Michael D. Hills and, moves this Court for leave to file a Late Notice Regarding Expert

Testimony and in support states as follows:

1.       This Court set a deadline of February 4, 2022 to disclosure of expert witnesses.

         (PageID.2155)

2.       On that date, Counsel filed a Notice Regarding Expert Testimony listing Glenn

         Bard.

3.       Counsel had been budgeted for an expert in military style training and tactics.

4.       Counsel found and retained an expert who was engaged, given the source material

         and consulted. After further consultation with the defense team, the individual

         declined to continue participation and withdrew from the defense team.

5.       Defense attorney Julia Kelly picked up the baton and consulted at least one other

         individual who likewise declined after consultation. A few other people were

         consulted with no success.
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6.       The issue was dropped to spend energy on other pressing issues.

7.       Over the weekend Counsel was advised of Mr. Dorenbush’s expertise in this area

         and that he might be willing to help. Counsel and Ms. Kelly interviewed Mr.

         Dorenbush on February 13, 2022. After consultation Mr. Dorenbush indicated he

         would be willing to testify.

8.       Mr. Dorenbush does not maintain a CV or Resume, but has extensive background

         in military training, education and consultation. Attached to the Late Notice is a

         list of Mr. Dorenbush’s experience and qualifications.

9.       Counsel has consulted AUSA Nils Kessler who opposes this request.

         Mr. Caserta now offers the attached Late Notice Regarding Expert Testimony.

                                                         Respectfully Submitted,

                                                         HILLS AT LAW, P.C.


Dated: February 14, 2022                                    /s/Michael D. Hills
                                                         Attorney for Defendant

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